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                                   UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION


RE: Jaime Antonio Cadavid                                                                CASE NUMBER: 23-16959 RAM

                       TRUSTEE'S NOTICE OF DEFICIENCY AND RECOMMENDATION
                         (If this case is dismissed, this deficiency is an objection to reinstate)

The Trustee reviewed this case and found the following deficiencies remain unresolved from the Trustee’s letter or
requirements under the Bankruptcy Code and Rules. The Trustee reserves the right to raise additional objections
UNTIL all documents are provided to the Trustee and reviewed for issues raised and additional documents needed.
See Court Notice of Commencement for additional information and Trustee’s website www.CH13miami.com for
forms and procedures.
As appropriate, all written responses or documents must be received through BKDOCS.US or filed with the Clerk by
5pm at least 15 days prior to the first confirmation hearing or agreed deadline if confirmation is continued. Pro Se
debtors may fax documents to 954-443-4452. Late documents may not be reviewed or considered, and this case may
be at risk of dismissal. The Trustee’s Office has a “Pre-call” date, THE THURSDAY PRIOR TO THE HEARING.
During this period, the Debtor’s or Creditor’s attorney must call and speak to the Trustee’s staff attorney unless they
agree to the Trustee’s recommendation. A final calendar will be published with any changes of this recommendation
the day before the hearing on the front page of the Trustee’s website.
     ***RECOMMENDATIONS ARE CHANGED UPON REVIEW OF DOCUMENTS NOT RECEIPT***
TRUSTEE’S RECOMMENDATION FOR HEARING
                                                                                 LAST REVIEWED: 1/2/2024


1 A Plan served 12/6
If debtor’s counsel appears, confirms service, agrees to vesting and the recommendation on the record:
DISMISS: Remains unresolved from 11/23, amend plan to pay $7,200.00 to Trustee OR a) Schedule J Expenses: Provide
Proof of lines 6d, 17c, b) Object to cost of three vehicles,


DOCUMENTS WERE DUE ON DECEMBER 15, 2023




I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor’s attorney or by U.S. First Class
pre-paid Mail on the pro se debtor on the same day filed with the Court.

                                                                  Submitted by:
                                                                  NANCY K. NEIDICH, ESQ, STANDING CHAPTER 13 TRUSTEE
                                                                  P.O. BOX 279806, MIRAMAR, FL 33027, (954) 443-4402
